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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

               vs.

JAMES EARL ROBINSON,
       Defendant.
______________!                                        INDICTMENT

        The Grand Jury charges:


                                        COUNT 1
                            (Felon in Possession of a Firearm)

        On or about January 27, 2021, in Kalamazoo County, in the Southern Division

of the Western District of Michigan,

                              JAMES EARL ROBINSON,

knowing he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year, knowingly possessed a loaded Ruger, Model LCP II, .22

caliber pistol, which was in and affecting commerce.


18   U.S.C. § 922(g)(l)
18   U.S.C. § 924(a)(2)
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                                       COUNT2
            (Possession with Intent to Distribute Controlled Substances)

      On or about January 27, 2021, in Kalamazoo County, in the Southern Division

of the Western District of Michigan,

                           JAMES EARL ROBINSON

knowingly and intentionally possessed with intent to distribute a mixture or

substance containing a detectable amount of heroin, a Schedule I controlled

substance, and a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

21 U.S.C. § 841(a)(l)
21 U.S.C. § 841(b)(l)(C)
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                                       COUNT3
       (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

      On or about January 27, 2021, in Kalamazoo County, in the Southern Division

of the Western District of Michigan,

                              JAMES EARL ROBINSON

knowingly possessed a loaded Ruger, Model LOP II, .22 caliber pistol in furtherance

of a drug trafficking crime for which he may be prosecuted in a court of the United

States, that is, possession with intent to distribute controlled substances as charged

in Count 2 of this Indictment.


18 U.S.C. § 924(c)(l)(A)(i)
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                           FORFEITURE ALLEGATION

       The allegations contained in Counts 1 and 3 are hereby re-alleged and

 incorporated by reference for the purpose of alleging forfeiture pm·suant to 18

 U.S.C. § 924(d)(l) and 28 U.S.C. § 2461(c). Upon conviction of the offense in

 violation of 18 U.S.C. § 922(g)(l) set forth in Count 1 or 18 U.S.C. § 924(c) set forth

 in Count 3,

                             JAMES EARL ROBINSON

 shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(l) and 28 U.S.C.

 § 2461(c), any firearms and ammunition involved in or used in the offense,

 including, but not limited to, a loaded Ruger, Model LCP II, .22 caliber pistol.


 18 U.S.C. § 924(d)(l)
 28 U.S.C. § 2461(c)




                                               A TRUE BILL



                                               GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney



LAUREN F. BIKSACKY
Assistant United States Attorney
